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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

FRED HANEY,
et al.,

Plaintiffs,
Vv. Civil Action No. 3:22-cev-55

GENWORTH LIFE INSURANCE
co., et al.,

Defendants.
ORDER
For the reasons set forth in the accompanying Memorandum
Opinion, it is hereby ORDERED that OBJECTOR JANE BELKIN’S MOTION
FOR INCENTIVE AWARD AND ATTORNEYS’ FEES (ECF No. 103) and the MOTION
OF THE FRIEDMAN AND PODOLL OBJECTORS FOR INCENTIVE AWARDS AND
ATTORNEY'S FEES (ECF No. 111) is GRANTED.

It is so ORDERED.

/s/ {ref

Robert E. Payne
Senior United States District Judge

Richmond, Virginia

Date: January 127 2023

 

 
